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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 HONEY MILESTONE,

        Plaintiff,

 v.                                                   CASE NO.:

 CITRUS SPECIALTY GROUP, INC.,
 HCA PHYSICIAN SERVICES, INC., and
 CITRUS MEMORIAL HOSPITAL INC.,

       Defendants.
 ____________________________________/

                     COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, HONEY MILESTONE, by and through undersigned counsel, brings this

 action against Defendants, CITRUS SPECIALTY GROUP, INC., HCA PHYSICIAN

 SERVICES, INC. and CITRUS MEMORIAL HOSPITAL, INC. (Collectively

 “Defendants”), and in support of her claims states as follows:

                             JURISDICTION AND VENUE

        1.      This is an action for violations of the Family and Medical Leave Act of

 1993, as amended, 29 U.S.C. § 2601 et seq. (“FMLA”).

        1.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 29

 U.S.C. § 2601 et seq.

        2.      Venue is proper in the Middle District of Florida, because all of the events

 giving rise to these claims occurred in Hernando County, Florida.

                                        PARTIES

        3.      Plaintiff worked in Citrus County for Defendants.
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        4.      Defendants operate a hospital in Citrus County, Florida.

                                GENERAL ALLEGATIONS

        5.      This is an action to recover damages suffered by Plaintiff while employed

 by Defendants, when Defendants interfered with Plaintiff’s rights under the FMLA and

 retaliated against Plaintiff for exercising these same rights.

        6.      At the time of these events, Plaintiff was an employee of Defendants, and

 she worked at least 1250 hours in the 12 months preceding her request for leave under the

 FMLA.

        7.      Thus, Plaintiff is an “eligible employee” within the meaning of the FMLA,

 29 U.S.C. § 2611(2).

        8.      Defendants are an “employer” within the meaning of the FMLA, 29 U.S.C.

 § 2611(4).

        9.      Plaintiff has satisfied all conditions precedent, or they have been waived.

        10.     Plaintiff has retained the undersigned attorneys and agreed to pay them a

 fee.

        11.     Plaintiff requests a jury trial for all issues so triable.

                                            FACTS

        12.     Plaintiff began working for Defendants on or around October 2017.

        13.     At all times relevant to the facts alleged in this Complaint, Plaintiff suffered

 from a medical condition that qualified as a serious health condition within the meaning of

 the FMLA.




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        14.     During her employment, Plaintiff became pregnant. Plaintiff notified

 Defendants almost immediately.

        15.     Unfortunately, in February 2019, Plaintiff suffered a miscarriage.

        16.     However, in April 2019, Plaintiff became pregnant again and was diagnosed

 with a high risk pregnancy.

        17.     On or about April 2019, Plaintiff submitted proper medical documentation

 to Defendants in support of her high risk pregnancy and need for medical leave beginning

 on October 1, 2019.

        18.     Defendants failed to notify Plaintiff of her medical rights under the FMLA.

 Specifically, Natalie Hunter, incorrectly notified Plaintiff that she was ineligible for

 FMLA.

        19.     On or about October 2018, Plaintiff was forced to resign her position

 because Defendants failed to grant Plaintiff her medical leave under the FMLA. Plaintiff’s

 resignation effectively amounts to a termination for requesting medical leave that should

 have been protected by the FMLA.

        20.     Plaintiff exercised her rights under the FMLA by requesting medical leave.

        21.     By constructively discharging Plaintiff, Defendants violated Plaintiff’s

 rights under the FMLA.

                          COUNT I – FMLA INTERFERENCE

        22.     Plaintiff realleges and readopts the allegations of paragraphs 1 through 21

 of this Complaint, as fully set forth herein.




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         23.     Plaintiff required time off from work to care for herself, because she

 suffered from a serious health condition within the meaning of the FMLA, requiring leave

 protected under the FMLA.

         24.     By constructively discharging Plaintiff for seeking medical leave,

 Defendants interfered with Plaintiff’s FMLA rights, in violation of 29 U.S.C. §§

 2614(a)(1)(A) and 2615(a)(2).

         25.     Defendants’ actions were willful and done with malice.

         26.     Plaintiff was injured due to Defendants’ violations of the FMLA, for which

 Plaintiff is entitled to legal and injunctive relief.

         WHEREFORE, Plaintiff demands:

                 (a)     That this Court enter a judgment that Defendants interfered with

                         Plaintiff’s rights in violation of the FMLA;

                 (b)     An injunction restraining continued violation of the FMLA by

                         Defendants;

                 (c)     Compensation for lost wages, benefits, and other remuneration;

                 (d)     Reinstatement of Plaintiff to a position comparable to Plaintiff’s

                         prior position with back pay plus interest, pension rights and all

                         benefits, or, in the alternative, the entry of a judgment under 29

                         U.S.C. § 2617(a)(1)(A)(i)(II), against Defendants and in favor of

                         Plaintiff, for the monetary losses that Plaintiff suffered as a direct

                         result of Defendants’ violations of the FMLA;

                 (e)     Front pay;



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                 (f)     Liquidated Damages;

                 (g)     Prejudgment interest on all monetary recovery obtained;

                 (h)     All costs and attorney’s fees incurred in prosecuting these claims;

                         and

                 (i)     For such further relief as this Court deems just and equitable.

                            COUNT II – FMLA RETALIATION

         27.     Plaintiff realleges and readopts the allegations set forth in Paragraphs 1

 through 21 of this Complaint, as fully set forth herein.

         28.     Plaintiff required time off from work to care for herself, because she

 suffered from a serious health condition within the meaning of the FMLA, requiring leave

 protected under the FMLA.

         29.     Plaintiff engaged in protected activity under the FMLA by exercising and/or

 attempting to exercise her FMLA rights.

         30.     Defendants retaliated against Plaintiff for engaging in protected activity

 under the FMLA by constructively discharging Plaintiff.

         31.     Defendants’ actions were willful and done with malice.

         32.     Plaintiff was injured by Defendants’ violations of the FMLA, for which

 Plaintiff is entitled to legal and injunctive relief.

         WHEREFORE, Plaintiff demands:

                 (a)     That this Court enter a judgment that Defendants retaliated against

                         Plaintiff in violation of the FMLA;




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               (b)     An injunction restraining continued violation of the FMLA by

                       Defendants ;

               (c)     Compensation for lost wages, benefits, and other remuneration;

               (d)     Reinstatement of Plaintiff to a position comparable to Plaintiff’s

                       prior position with back pay plus interest, pension rights and all

                       benefits or, in the alternative, entry of a judgment under 29 U.S.C.

                       § 2617(a)(1)(A)(i)(II), against Defendants and in favor of Plaintiff,

                       for the monetary losses Plaintiff suffered as a direct result of

                       Defendants’ violations of the FMLA;

               (e)     Front pay;

               (f)     Liquidated Damages;

               (g)     Prejudgment interest on all monetary recovery obtained;

               (h)     All costs and attorney’s fees incurred in prosecuting these claims;

                       and

               (i)     For such further relief as this Court deems just and equitable.

                                JURY TRIAL DEMAND

       Plaintiff demands trial by jury as to all issues so triable.




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       Dated this 20th day of September, 2019.

                                           Respectfully submitted,



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